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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


OLAOLUWA EMMANUEL DESMOND KALIKU, )
                                             )
                      Petitioner,            )
                                             )
      v.                                     )                Case No. 24-3144-JWL
                                             )
U.S. IMMIGRATION AND CUSTOMS                 )
      ENFORCEMENT;                           )
KEVIN RIDDLE, ICE Field Office Director;     )
JACOB WELCH, Warden, Chase County Detention )
      Center,                                )
                                             )
                      Respondents.           )
                                             )
____________________________________________ )

                           MEMORANDUM AND ORDER

      Petitioner filed a pro se petition for habeas corpus under 28 U.S.C. § 2241, in which

he challenges his detention pending his removal from the United States. Respondents have

submitted a response to the petition, and petitioner has submitted a reply brief. For the

reasons set forth below, the Court denies the petition. In addition, the Court denies as

moot petitioner’s motion to add respondents (Doc. # 17).

      Petitioner is a native and citizen of the United Kingdom. In 2007, petitioner was

convicted in the Superior Court of the District of Columbia of various crimes, including

assault with a dangerous weapon, armed robbery, kidnapping, and sexual abuse. After

serving his sentence for those offenses, he was taken into custody by United States

Immigration and Customs Enforcement (ICE), and on February 14, 2024, petitioner

consented to the issuance of an order for his deportation pursuant to 8 U.S.C. §
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1227(a)(2)(A)(iii), based on his conviction of an aggravated felony. Petitioner has not yet

been removed to the United Kingdom, and he challenges his continued detention pending

removal.

       As an initial matter, respondents challenge the Court’s jurisdiction to grant the relief

sought by petitioner, that is, his release. In his petition, petitioner named as respondents

ICE; Kevin Riddle, allegedly an ICE field office director; and the warden of the Chase

County Detention Center in Kansas, where petitioner was being detained at the time he

filed his petition. Respondents note that petitioner is presently detained at a state facility

in Oklahoma, and they argue that the only proper respondent here is the Oklahoma warden,

with physical custody over petitioner, and not ICE or its officials.

       In a habeas case challenging physical custody, the general rule is that the proper

respondent is the warden of the facility where the petitioner is being held, not a remote

supervisory official. See Rumsfeld v. Padilla, 542 U.S. 426, 434-35 (2004). In Padilla,

however, the Supreme Court expressly left open the question whether this immediate

custodian rule applies to a habeas petition filed by an alien pending deportation. See id. at

435 n.8. The Tenth Circuit has not addressed the issue, but respondents are correct in

noting that a majority of district courts have held that the immediate custodian rule does

apply in immigration habeas cases. See Fuentes v. Choate, 2024 WL 2978285, at *6 (D.

Colo. June 13, 2024) (citing cases). On the other hand, “[r]ecognizing that only a federal

official – not the state prison warden – can release an alien detainee, other courts have

concluded that the proper respondent is the director of the ICE field office responsible for

overseeing the contract facility where the petitioner is detained.” See Chiwanga v Garland,

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2022 WL 2020843, at *1 (E.D. Okla. May 20, 2022) (citing cases). Although respondents

argue that only the Oklahoma state warden has physical custody of petitioner, respondents

have not explained how that warden would have the power to release petitioner should the

Court grant relief. Only ICE officials have that authority, and petitioner has attempted to

name both ICE and the ICE field office director. Respondents argue that petitioner has

named the wrong ICE official, and that the ICE official with authority over petitioner is

actually ICE’s ERO Chicago Field Office Director. Petitioner has moved to substitute that

official as the proper respondent, and if the Court were inclined to grant relief in this case,

it would allow that substitution.

       In addition, the Supreme Court has confirmed that if a habeas petitioner has properly

filed a petition naming his immediate custodian, the district court retains jurisdiction over

the case even after a transfer in custody. See Padilla, 542 U.S. at 441 (citing Ex parte

Endo, 323 U.S. 283 (1944)), cited in Pinson v. Berkebile, 604 F. App’x 649, 652-53 (10th

Cir. 2015); see also Santillanes v. United States Parole Comm’n, 754 F.2d 887, 888 (10th

Cir. 1985) (“It is well established that jurisdiction attaches on the initial filing for habeas

corpus relief, and it is not destroyed by a transfer of the petitioner and the accompanying

custodial change.”). Respondents may argue that the Court nonetheless has no jurisdiction

to compel action by petitioner’s custodian in Oklahoma; but in Pinson, the Tenth Circuit

exercised jurisdiction without reservation even though the habeas petitioner had been

transferred and thus his immediate physical custodian was no longer within the district

court’s jurisdiction, as the district court had acquired jurisdiction at the time of the

petition’s filing. See Pinson, 604 F. App’x at 652-53. Moreover, this Court has previously

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rejected transfer or dismissal on this basis, noting that the United States Attorney and the

named respondents were responsible for implementing any directive of the Court. See Lee

v. English, 2019 WL 3891147, at *4 (D. Kan. Aug. 19, 2019) (Lungstrum, J.), aff’d sub

nom. Jones v. English, 817 F. App’x 580 (10th Cir. 2020); see also Jones, 817 F. App’x at

582 n.2 (agreeing with this Court that the petitioner’s transfer did not divest it of

jurisdiction). Petitioner properly named his Kansas warden when he filed his petition, and

his subsequent transfer did not divest this Court of jurisdiction over this case. ICE should

not be able to render this Court powerless merely by transferring petitioner in its discretion,

and at any rate, ICE and the United States Attorney are responsible for complying with this

Court’s directives. Finally, petitioner has moved to substitute his Oklahoma warden as

respondent, and the Court would permit that substitution if necessary to effect relief.

       Regardless, whether or not the Court has “jurisdiction” to grant relief, as used in

Section 2241(a), it does have jurisdiction over the action and thus may deny the petition on

the merits. See Nunez v. United States, 2019 WL 1081678, at *1 n.2 (D. Kan. Mar. 6,

2019) (Lungstrum, J.) (citing Al-Pine v. Richerson, 763 F. App’x 717, 721 n.4 (10th Cir.

2019)). The Court concludes in this case that petitioner is not entitled to relief on the merits

of his petition, as discussed below; thus, as in Lee, the Court need not resolve definitively

the jurisdictional issue discussed above. See Lee, 2019 WL 3891147, at *4.1

       To obtain habeas corpus relief, petitioner must demonstrate that he is “in custody in

violation of the Constitution or laws or treaties of the United States.” See 28 U.S.C. §



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           The Court thus denies petitioner’s motion to substitute respondents as moot.
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2241(c)(3). The Court has habeas corpus jurisdiction to consider the statutory and

constitutional grounds for immigration detention that are unrelated to a final order of

removal. See Demore v. Kim, 538 U.S. 510, 517–18 (2003). This Court has discussed the

standard relevant to this petition as follows:

               Under 8 U.S.C. § 1226, the Attorney General may arrest and detain
       an alien pending a determination of whether the alien is to be removed from
       the United States. Detention during this “pre-removal period” is considered
       definite because it terminates upon the immigration court’s removal decision.
       Id. at 529.

              Upon the entry of a final removal order, the matter enters the “removal
       period,” and the statutory authority for detention shifts to 8 U.S.C. § 1231. .
       ..

              After an order of removal becomes administratively final, the
       Attorney General “shall detain the alien” during the 90-day removal period
       established under 8 U.S.C. § 1231(a)(2). See Zadvydas v. Davis, 533 U.S.
       678, 683 (2001) and Morales-Fernandez v. INS, 418 F.3d 1116, 1123 (10th
       Cir. 2005). Generally, the government is required to remove the alien held
       in its custody within the 90-day removal period.            See 8 U.S.C.
       § 1231(a)(1)(A)-(B).

               While the government may detain an “inadmissible” or criminal alien
       beyond the statutory removal period, see 8 U.S.C. § 1231(a)(6), the
       government may not detain such an alien indefinitely. Zadvydas, 533 U.S.
       at 699. Instead, the detention of an alien subject to a final order of removal
       for up to six months is presumptively reasonable in view of the time required
       to accomplish removal. Id. at 701. Beyond that period, if the alien shows
       that there is “no significant likelihood of removal in the reasonably
       foreseeable future, the Government must respond with evidence sufficient to
       rebut that showing.” Id. Furthermore, as the period of detention grows,
       “what counts as the ‘reasonably foreseeable future’ conversely would have
       to shrink.” Id. The six-month presumption does not mean that every alien
       must be released after that time, but rather an alien may be detained “until it
       has been determined that there is no significant likelihood of removal in the
       reasonably foreseeable future.” Id.




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See Anyimu v. Department of Homeland Security, 2017 WL 193180, at *2 (D. Kan. Jan.

18, 2017) (Lungstrum, J.); see also Madej v. Garland, 2023 WL 1396195, at *2-3 (D. Kan.

Jan. 31, 2023) (Lungstrum, J.) (applying this standard from Anyimu).

       Respondents do not dispute that petitioner’s removal order became final on

February 14, 2024, and thus petitioner has been detained beyond the presumptively

reasonable period of six months. Petitioner has not shown, however, that the Government

is detaining him indefinitely or that there is no significant likelihood of his removal in the

reasonably foreseeable future. In his briefs, petitioner noted that he has still not been

removed after nine months, and that the UK Government has neither issued the necessary

travel documents for him (a new passport) nor confirmed that it will do so in the near future.

Respondents have provided evidence, however, that the delay has been caused by UK

passport authorities, who continually asked for more or even the same information about

petitioner; but that progress was being made. Then, on November 20, 2024, after petitioner

had filed his traverse, respondents provided notice that they had finally received a passport

for petitioner from UK authorities, and that preparations could now be made for petitioner’s

removal from the United States. Respondents further provided evidence that the process,

subject to various applicable limitations and requirements, is estimated to be completed in

approximately two months’ time. Thus, the Court agrees with respondents that petitioner’s

removal is finally imminent. Petitioner has therefore failed to show that there is no




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significant likelihood of his removal in the reasonably foreseeable future, and accordingly,

the Court denies the petition.2 3



       IT IS THEREFORE ORDERED BY THE COURT THAT the petition for habeas

corpus pursuant to 28 U.S.C. § 2241 is hereby denied.



       IT IS FURTHER ORDERED BY THE COURT THAT petitioner’s motion to add

respondents (Doc. # 17) is hereby denied as moot.


       IT IS SO ORDERED.


       Dated this 21st day of November, 2024, in Kansas City, Kansas.


                                                    /s/ John W. Lungstrum
                                                    Hon. John W. Lungstrum
                                                    United States District Judge




       2
          Of course, if the Government fails to remove petitioner as anticipated, petitioner
would be free to file a new petition in the appropriate court.
       3
         In his petition, petitioner appears to allege a denial of medical care. In his traverse,
however, petitioner does not dispute that he has in fact been afforded care recently while
in custody; rather he raises the topic only to rebut any suggestion by respondents that he
would get better medical care in custody than upon release. Thus, the Court does not
interpret the petition as attempting to assert a constitutional claim of a denial of medical
care (which claim could be asserted only in a separate civil rights action and not as part of
this habeas action).
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